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NOT FOR PUBLICATION

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

    DONELL FREEMAN,                                      Civil Action No. 17-2713-BRM-TJB

                 Plaintiff,

          v.                                                MEMORANDUM OPINION

    MONMOUTH COUNTY
    CORRECTIONAL INSTITUTION
    COMMISSARY, et al.,

                 Defendants.


         Before this Court are Plaintiff Donell Freeman’s (“Plaintiff”) complaint asserting claims

pursuant to 42 U.S.C. § 1983 (ECF No. 1) and application to proceed in forma pauperis (ECF No.

1-1). Plaintiff is a prisoner currently1 confined in the Monmouth County Correctional Institution.

(ECF No. 1 at 4.) For the reasons set forth below, Plaintiff’s application to proceed in forma

pauperis is DENIED without prejudice.

         The Prison Litigation Reform Act of 1995 (the “Act”), which amends 28 U.S.C. § 1915,

establishes certain financial requirements for prisoners who are attempting to bring a civil action

in forma pauperis. Under the Act, a prisoner bringing a civil action in forma pauperis must submit

an affidavit, including a statement of all assets, stating the prisoner is unable to pay the filing fee

for the complaint. 28 U.S.C. § 1915(a)(1). The prisoner also must submit a certified copy of his




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  Plaintiff indicated he was an inmate at the time he filed the complaint. (ECF No. 1 at 4.) However,
the mail sent to the Monmouth County Correctional Institutional address and inmate number
provided by Plaintiff was returned undeliverable. Pursuant to Loc.Civ.R. 10.1, Plaintiff must
provide this Court with any change in address within seven (7) days of such change. Nevertheless,
the clerk’s office will attempt delivery of this opinion and accompanying order to the address
provided by Plaintiff.
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inmate trust fund account statement for the six-month period immediately preceding the filing of

his complaint.    28 U.S.C. § 1915(a)(2). The prisoner must obtain this statement from the

appropriate official of each prison at which he was or is confined. Id.

       The entire fee to be paid in advance of filing a civil complaint is $400. That fee includes a

filing fee of $350 plus an administrative fee of $50, for a total of $400. If in forma pauperis status

is denied, a prisoner must pay the full $400, including the $350 filing fee and $50 administrative

fee, before his complaint will be filed. If the prisoner is granted in forma pauperis status, he will

only be assessed the $350 filing fee and will not be responsible for the $50 administrative fee. The

full amount of the $350 filing fee is paid pursuant to 28 U.S.C. § 1915(b) as follows: In each month

that the amount in the prisoner’s account exceeds $10.00, until the $350.00 filing fee is paid, the

agency having custody of the prisoner shall assess, deduct from the prisoner’s account, and

forward to the Clerk of the Court, payment equal to 20% of the preceding month’s income credited

to the prisoner’s account. 28 U.S.C. § 1915(b)(2).

       In this action, Plaintiff failed to submit a complete in forma pauperis application as

required by 28 U.S.C. § 1915(a)(1) and (2). Although Plaintiff provided an affidavit of indigence

accompanied by a copy of his institutional account statement, Plaintiff’s account statement has not

been certified by the appropriate official at the Monmouth County Correctional institution as

required by § 1915(a)(2). Accordingly, Petitioner has failed to provide a complete in forma

pauperis application, and his application is denied without prejudice.



Dated: May 9, 2017
                                                      /s/Brian R. Martinotti
                                                      HON. BRIAN R. MARTINOTTI
                                                      UNITED STATES DISTRICT JUDGE




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